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                    Exhibit 33
Sent:     Tue 4/26/2022 5:10:45 PM (UTC)
From:                Case 3:21-md-02981-JD Document 468-34 Filed 03/27/23 Page 2 of 5
          kmitta@google.com
To:       kmitta@google.com, byb@google.com, nathanroach@google.com, ylsteele@google.com, lauranoren@google.com,
danknapp@google.com, tIr@google.com, agwinters@google.com, jrnik@google.com, jasonlking@google.com,
sdaniella@google.com, schack@google.com, kemio@google.com, sringland@google.com, tgage@google.com
Subject: AAAAGhG0xUl-MBI-FLAT:2022-04-25T22:10:44.233903
IMG 9807.HEIC
IMG 9813.HEIC


 kmitta@google.com 2022-04-26T17:10:44.233Z

 https://blog.google/products/google-play/data-safety/

 https://blog.google/products/google-play/data-safety/
 kmitta@google.com 2022-04-26T17:10:57.651Z

 Well done and thank you for all of you who contributed!

 bjrb@google.com 2022-04-26T18:36:21.211Z

 Compare to Motherboard's timely investigation on Facebook's data usage (link posted in a PSL-related chat)

 https://www.vice.comien/articleialcvmke/facebook-doesnt-know-what-it-does-with-your-data-or-where-it-goes
 nathanroach@google.com 2022-04-26T20:25:53.158Z

 Comment with care

 kmitta@google.com 2022-04-26T20:27:02.925Z

 I will go further: Dont editorialize/comment in this group chat because it is long-lived.

 kmitta@google.com 2022-04-26T20:27:11.748Z

 Thanks for the reminder, Nathan.

 ylsteele@google.com 2022-04-26T21:25:27.175Z

 IMG 9807.HEIC
 ylsteele@google.com 2022-04-26T21:25:42.221Z

 IMG 9813.HEIC
 lauranoren@google.com 2022-04-26T21:26:55.490Z

 New York team is looking festive. Nice to see.

 kmitta@google.com 2022-04-26T21:27:11.615Z

 fantastic!

 danknapp@google.com 2022-04-26T21:29:01.376Z

 Did you all do a painting/art experience? Are we going to get to see some masterpieces?

 ylsteele@google.com 2022-04-26T21:49:23.940Z

 No we played games    e
 tlr@google.com 2022-04-26T23:04:01.108Z

 (I guess I wonder why this chat needs to be long-lived...)
  CONFIDENTIAL                                                                                 GOOG-PLAY5-000383657
2 Replies
                     Case 3:21-md-02981-JD Document 468-34 Filed 03/27/23 Page 3 of 5
agwinters@google.com 2022-04-26T23:06:51.084Z

+1, for me the history being on acts as a barrier to information sharing. Not sure if this whole-org chat is meant for that
type of sharing, or whether the history being preserved for folks to see after e.g. vacation is more important. But for the
Advisors chat, etc. I think history being off would increase the likelihood of casual, expedient sharing across teams.

kmitta@google.com 2022-04-26T23:08:42.456Z

I like the history on so we can go back to some of the docs shared, specific comments etc. I have found it useful. I dont
feel strongly about it. We can always use emails for that.

jnvk@google.com 2022-04-26T23:14:07.605Z

We can also have GEARS-Chat which is a short lived version

jnvk@google.com 2022-04-26T23:14:25.805Z

but I'll also also say that I'm pretty sure that even short lived chats end up in Vault for folks on lit hold

kmitta@google.com 2022-04-26T23:15:01.559Z

maybe "since this is long lived" is a red herring

kmitta@google.com 2022-04-26T23:15:32.814Z

in our line of duty, it serves us well to be watchful of what we comment without A/C privilege

kmitta@google.com 2022-04-26T23:16:15.851Z

with that said, if this chat serves us better being short lived.. happy to change it. The idea of this chat room is to create a
virtual "aisle" for us to catch up

jasonlking@google.com 2022-04-27T00:23:35.557Z

without history on, how would i be able to catchup on the PET > EGF > GEARS narrative? :)

tlr@google.com 2022-04-27T00:23:57.155Z

arguably, some things are better left unremembered     •
sdaniella@google.com 2022-04-27T11:14:40.118Z

Good morning all, this is your not -so-gentle reminder that we need a deep dive topic for today's huddle.

schack@google.com 2022-04-27T16:06:28.126Z

Just setting this here (comment with care, if at all).... https://www.politico.eu/article/as-big-tech-crackdown-looms-eu-to-
open-silicon-valley-base/

https://www.politico.eu/article/as-big-tech-crackdown-looms-eu-to-open-silicon-valley-base/
kemio@google.com 2022-04-27T22:00:41.942Z

Has anyone here been engaged with the work happening with Projecte Crete and Project Verne?

nathanroach@google.com 2022-04-27T22:28:09.299Z

@Kemi Olateju you still around or gone for the day?

 CONFIDENTIAL                                                                                          GOOG-PLAY5-000383658
sringland@google.com
                 Case2022-04-27T22:43:10.033Z
                      3:21-md-02981-JD Document 468-34 Filed 03/27/23 Page 4 of 5
Hive mind - we have the Privacy Northstar. Are there other similar "northstar-like" statements for Security, Trust and
Safety?

tgage@google.com 2022-04-27T22:44:40.617Z

PDPO Blueprint: go/pdpo-blueprint

http://goto.google.com/pdpo-blueprint
sringland@google.com 2022-04-27T22:44:41.016Z

I'm looking to blatantly borrow rather than come up with a comprehensive list of Trust themes   •
tgage@google.com 2022-04-27T22:44:58.939Z

Security strategy '22: go/security-2022-strategy

http://goto.google.com/security-2022-strategy
tgage@google.com 2022-04-27T22:45:26.972Z

That doc links to a "strategic pillars" doc that I don't have access to, but may also be a good resource:
https://docs.google.com/document/d/11(1MQqCy5-kTjDYQp84ee3cfl483qsuwnuI91WXJdfc0/edit?resourc ekey=0-
BoAdu tOURfouD4gMJRclAiThookmark=id.(4vz1g3ury4

https://docs. google.comIdocument/d/lk1MQqCy5-kTjDYQp84ee3cfl483qsuwnuI91WXJdfc0/edit?resourcekey=0-
BoAdu tOURfouD4gMJRc1Agbookmark=id.ovzlg3ury4
https://drive.google.com/open?id=11(1MQqCy5-kTjDYQp84ee3cfl483qsuwnuI91WXJdfc0
tgage@google.com 2022-04-27T22:46:39.721Z

It's probably a bit too broad, but Core's Pillars may also help trigger some ideas:
https://sites.google.com/corp/google.com/coreorg/cores-pillars

https://sites.google.comicorp/google.com/coreorg/cores-pillars
sdaniella@google.com 2022-04-28T15:09:34.825Z

Good morning, everyone! Excited to see you in a couple of weeks. Just a heads up, the hold on the hotel rooms will be
released on Sunday, so if you haven't already, please be sure to book your room before then.

sdaniella@google.com 2022-04-28T15:09:50.751Z

And if you're having any issues or questions, don't hesitate to reach out.

sdaniella@google.com 2022-04-28T15 :12 :20.201Z

https://www.ihg.com/evenhotels/hotels/us/en/seattle/seasw/hoteldetail?fromRedirect=true&qSrt=sBR&qIta=99801505&ic
dv=99801505&qS1H=SEASW&qGrpCd=EAG&setPMCookies=true&qSHBrC=VN&qDest=527%20Fairview%20Avenu
e%20N,%20Seattle,%20WA,%2OUS&srb u=1

https://www.ihg.com/cvenhotels/hotels/us/cn/seattle/scasw/hoteldctail?fromRcdircct=true&qSrt=sBR&qIta=99801505&ic
dv=99801505&qS1H=SEASW&qGrpCd=EAG&setPMCookies=true&qSHBrC=VN&qDest=527%20Fairview9/020Avenu
e%20N,%20Seattle,9/020W A ,%2OUSSzsrb u=1
kmitta(&,google.com 2022-04-28T16:34:49.355Z

Thanks Daniella. Super excited for our first all team offsite. I am looking forward to it!

sdaniella@google.com 2022-04-28T16:35:31.349Z

Me too!
 CONFIDENTIAL                                                                                       GOOG-PLAY5-000383659
sdaniella@google.com
                 Case2022-04-28T16:39:18.342Z
                       3:21-md-02981-JD Document 468-34 Filed 03/27/23 Page 5 of 5
Also silently added our fun activity to your calendars

ylsteele@google.com 2022-04-28T16:39:25.119Z

do you know when it ends

sdaniella@google.com 2022-04-28T16:43:29.449Z

1-4 pm PT

danknapp@google.com 2022-04-28T18:05:51.327Z

@Daniella Singleton Am I correct that the proper steps to pre-book a spot at my preferred Atlanta airport lot are: 1)
Reserve with my Gcard 2) When the charge comes through, apply the same Seattle Event ID as airfare and hotel...and that
is it?

sdaniella@google.com 2022-04-28T18:24:27.947Z

1) yes

sdaniella@google.com 2022-04-28T18:24:35.120Z

2) you won't expense until the trip is complete

sdaniella@google.com 2022-04-28T18:25:13.645Z

but yes, you will apply the tripid to the charge

danknapp@google.com 2022-04-28T18:25:52.713Z

Got it - so after the trip we upload all receipts to one entry and do all the remaining things together?

danknapp@google.com 2022-04-28T18:25:57.821Z

And thanks!

jasonlking@google.com 2022-04-28T18:28:04.952Z

that's what i prefer to do, all expenses for the same "business purpose" in one Expense Report. There will be expense codes
for parking vs. taxis vs. meals etc, but can all be done after the trip (and sometimes it takes a few days for expenses to
show in Concur for import, regardless)

jasonlking@google.com 2022-04-28T18:29:38.321Z

protip: take photos of paper receipts as you go, or use the Concur app to do so, just in case you lose all your paper receipts
(this...may have happened to me once)

tgage@google.com 2022-04-28T18:30:42.037Z

I was about to say the same, although I am terrible at following my own advice and just end up stuffing all the paper
receipts in one place. You also won't need all of your receipts, but you can't really tell which ones you will need until you
start filing the report. (it's based on category and the size of the expense)




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